            Case 1:20-cv-03595-TJK Document 6 Filed 01/21/21 Page 1 of 13




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

HOPE VANDROSS                              *

       Plaintiff,                          *

v.                                         *      Civil Action No. 1:20-cv-03595-TJK

CHRONICLE OF HIGHER                        *
EDUCATION, INC. (The)
                                           *
       Defendant.
                                           *

               *      *      *      *      *      *      *      *      *

                     ANSWER AND AFFIRMATIVE DEFENSES

       Defendant, The Chronicle of Higher Education, Inc. (“Defendant”), by and

through its undersigned counsel, and pursuant to the Federal Rules of Civil Procedure,

files this Answer to Plaintiff, Hope VanDross’ (“Plaintiff”), Complaint.

       Each paragraph below is a response to the allegations in each of the corresponding

numbered paragraphs of the Complaint.

                                    INTRODUCTION

       1.      This paragraph contains no factual allegations to admit or deny, but rather

states conclusions of law to which no response is required under the Federal Rules of

Civil Procedure. To the extent any response is required, Defendant denies the

allegations of this paragraph.

       2.      This paragraph contains no factual allegations to admit or deny, but rather

states conclusions of law to which no response is required under the Federal Rules of
            Case 1:20-cv-03595-TJK Document 6 Filed 01/21/21 Page 2 of 13




Civil Procedure. To the extent any response is required, Defendant denies the

allegations of this paragraph.

                             JURISDICTION AND VENUE

       3.      This paragraph contains no factual allegations to admit or deny, but rather

states conclusions of law to which no response is required under the Federal Rules of

Civil Procedure. To the extent any response is required, Defendant denies the

allegations of this paragraph.

       4.      This paragraph contains no factual allegations to admit or deny, but rather

states conclusions of law to which no response is required under the Federal Rules of

Civil Procedure. To the extent any response is required, Defendant denies the

allegations of this paragraph.

       5.      This paragraph contains no factual allegations to admit or deny, but rather

states conclusions of law to which no response is required under the Federal Rules of

Civil Procedure. To the extent any response is required, Defendant denies the

allegations of this paragraph.

                                         PARTIES

       6.      Defendant lacks sufficient knowledge or information to form a belief as to

the truth of the allegations contained in this paragraph, and denies the same.

       7.      Defendant admits the allegation of this paragraph.

                                 STATEMENT OF FACTS

       8.      Defendant denies the Plaintiff’s categorization of its business as contained

in the allegation in this paragraph.
                                              2
            Case 1:20-cv-03595-TJK Document 6 Filed 01/21/21 Page 3 of 13




       9.      Defendant admits the allegation of this paragraph.

       10.     Defendant admits the allegation of this paragraph.

       11.     Defendant denies the Plaintiff’s categorization of its publications, but

admits the remaining allegations contained in this paragraph.

       12.     Defendant denies the Plaintiff’s categorization of its business as contained

in the allegation in this paragraph.

       13.     Defendant lacks sufficient knowledge or information to form a belief as to

the truth of the allegations contained in this paragraph, and denies the same.

       14.     Defendant admits the allegation of this paragraph.

       15.     Defendant admits the allegation of this paragraph.

       16.     Defendant admits the allegation of this paragraph.

       17.     Defendant admits the allegation of this paragraph.

       18.     Defendant admits the allegation of this paragraph.

       19.     Defendant admits the allegation of this paragraph.

       20.     Defendant denies the allegation of this paragraph.

       21.     Defendant admits the allegation of this paragraph.

       22.     Defendant denies the allegation of this paragraph.

       23.     Defendant admits the allegation of this paragraph.

       24.     Defendant denies the allegation of this paragraph.

       25.     Defendant denies the allegation of this paragraph.

       26.     Defendant admits the allegation of this paragraph.
                                              3
  Case 1:20-cv-03595-TJK Document 6 Filed 01/21/21 Page 4 of 13




27.   Defendant admits the allegation of this paragraph.

28.   Defendant denies the allegation of this paragraph.

29.   Defendant denies the allegation of this paragraph.

30.   Defendant admits the allegation of this paragraph.

31.   Defendant denies the allegation of this paragraph.

32.   Defendant denies the allegation of this paragraph.

33.   Defendant denies the allegation of this paragraph.

34.   Defendant denies the allegation of this paragraph.

35.   Defendant denies the allegation of this paragraph.

36.   Defendant denies the allegation of this paragraph.

37.   Defendant denies the allegation of this paragraph.

38.   Defendant denies the allegation of this paragraph.

39.   Defendant denies the allegation of this paragraph.

40.   Defendant denies the allegation of this paragraph.

41.   Defendant admits the allegation of this paragraph.

42.   Defendant denies the allegation of this paragraph.

43.   Defendant denies the allegation of this paragraph.

44.   Defendant denies the allegation of this paragraph.

45.   Defendant denies the allegation of this paragraph.

46.   Defendant denies the allegation of this paragraph.

47.   Defendant denies the allegation of this paragraph.

48.   Defendant denies the allegation of this paragraph.
                                    4
            Case 1:20-cv-03595-TJK Document 6 Filed 01/21/21 Page 5 of 13




       49.     Defendant denies the allegation of this paragraph.

       50.     Defendant admits the allegation of this paragraph, however Defendant

denies the characterization of the meetings as “separate” and clarifies that the scheduling

of meetings and selection of those in attendance was coordinated according to business

function.

       51.     Defendant denies the allegation of this paragraph.

       52.     Defendant denies the allegation of this paragraph.

       53.     Defendant denies the allegation of this paragraph.

       54.     Defendant denies the allegation of this paragraph.

       55.     Defendant denies the allegation of this paragraph.

       56.     Defendant denies the allegation of this paragraph.

       57.     Defendant admits a meeting between Ms. VanDross, Ms. Long and Ms.

Ransom occurred on July 22, 2019, all other allegations contained in paragraph 57 are

denied.

       58.     Defendant denies the allegation of this paragraph as stated, but admits Ms.

VanDross was not treated differently from any other employees for any reason, including

on the basis of race or sex.

       59.     Defendant denies the allegation of this paragraph.

       60.     Defendant denies the allegation of this paragraph.

       61.     Defendant lacks sufficient knowledge or information to form a belief as to

the truth of the allegations contained in this paragraph, and denies the same.



                                             5
         Case 1:20-cv-03595-TJK Document 6 Filed 01/21/21 Page 6 of 13




       62.    Defendant lacks sufficient knowledge or information to form a belief as to

the truth of the allegations contained in this paragraph, and denies the same.

       63.    Defendant lacks sufficient knowledge or information to form a belief as to

the truth of the allegations contained in this paragraph, and denies the same.

       64.    Defendant denies the allegation of this paragraph.

       65.    Defendant denies the allegation of this paragraph.

       66.    Defendant denies the allegation of this paragraph.

       67.    Defendant denies the allegation of this paragraph.

       68.    Defendant admits the allegation of this paragraph.

       69.    Defendant admits the allegation of this paragraph.

       70.    Defendant admits the allegation of this paragraph.

       71.    Defendant denies the allegation of this paragraph.

       72.    Defendant denies the allegation of this paragraph.

       73.    Defendant admits the allegation of this paragraph.

       74.    Defendant denies the allegation of this paragraph.

       75.    Defendant admits that Plaintiff was asked these questions in an interview

but denies that the interview emphasized or was limited in any way to these categories.

       76.    Defendant denies the allegation of this paragraph.

       77.    Defendant denies the allegation of this paragraph.

       78.    Defendant denies the allegation of this paragraph.

       79.    Defendant admits the allegation of this paragraph.

       80.    Defendant denies the allegation of this paragraph.
                                             6
         Case 1:20-cv-03595-TJK Document 6 Filed 01/21/21 Page 7 of 13




       81.    Defendant admits the allegation of this paragraph.

       82.    Defendant admits the reasons listed in this paragraph contributed to a

decision to eliminate Plaintiff’s position but denies the allegation to the extent that it

contains an exhaustive list of all the reasons for the elimination.

       83.    Defendant admits the allegation of this paragraph.

       84.    Defendant denies the allegation of this paragraph.

       85.    Defendant admits the allegation of this paragraph, but clarifies the position

was not filled by any candidate until May 2020.

       86.    Defendant denies the allegation of this paragraph.

       87.    Defendant admits the allegation of this paragraph.

       88.    Defendant denies the allegation of this paragraph.

       89.    Defendant admits the allegation of this paragraph.

                                       COUNT I
   Violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et seq.

       90.    Defendant incorporates by reference its responses to the previous

paragraphs in response to paragraph 90.

       91.    This paragraph contains no factual allegations to admit or deny, but rather

states conclusions of law to which no response is required under the Federal Rules of

Civil Procedure. To the extent any response is required, Defendant denies the

allegations of this paragraph.

       92.    This paragraph contains no factual allegations to admit or deny, but rather

states conclusions of law to which no response is required under the Federal Rules of

                                               7
         Case 1:20-cv-03595-TJK Document 6 Filed 01/21/21 Page 8 of 13




Civil Procedure. To the extent any response is required, Defendant denies the

allegations of this paragraph.

       93.    Defendant admits the allegation of this paragraph.

       94.    Defendant denies the allegation of this paragraph.

       95.    Defendant denies the allegation of this paragraph.

       96.    Defendant denies the allegation of this paragraph.

       97.    Defendant denies the allegation of this paragraph.

       98.    Defendant denies the allegation of this paragraph.

       99.    Defendant denies the allegation of this paragraph.

       100.   Defendant denies the allegation of this paragraph.

       101.   Defendant denies the allegation of this paragraph.

       102.   Defendant denies the allegation of this paragraph.

       103.   Defendant denies the allegation of this paragraph.

       104.   Defendant denies the allegation of this paragraph.

                                    COUNT II
Violation of the Age Discrimination in Employment Act of 1967, 29 U.S.C. §§ 623 et
                                        seq.

       105.   Defendant incorporates by reference its responses to the previous

paragraphs in response to paragraph 105.

       106.   This paragraph contains no factual allegations to admit or deny, but rather

states conclusions of law to which no response is required under the Federal Rules of

Civil Procedure. To the extent any response is required, Defendant denies the

allegations of this paragraph.

                                            8
          Case 1:20-cv-03595-TJK Document 6 Filed 01/21/21 Page 9 of 13




       107.   Defendant denies the allegation of this paragraph.

       108.   Defendant denies the allegation of this paragraph.

       109.   Defendant denies the allegation of this paragraph.

       110.   Defendant denies the allegation of this paragraph.

       111.   Defendant denies the allegation of this paragraph.

       112.   Defendant denies the allegation of this paragraph.

       113.   Defendant denies the allegation of this paragraph.

       114.   Defendant denies the allegation of this paragraph.

       115.   Defendant denies the allegation of this paragraph.

       116.   Defendant denies the allegation of this paragraph.

                                      COUNT III
Violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et seq., and
    the Age Discrimination in Employment Act of 1967, 29 U.S.C. §§ 623 et seq.

       117.   Defendant incorporates by reference its responses to the previous

paragraphs in response to paragraph 117.

       118.   This paragraph contains no factual allegations to admit or deny, but rather

states conclusions of law to which no response is required under the Federal Rules of

Civil Procedure. To the extent any response is required, Defendant denies the

allegations of this paragraph,

       119.   Defendant denies the allegation of this paragraph.

       120.   Defendant admits a meeting between Ms. VanDross, Ms. Long and Ms.

Ransom occurred on July 22, 2019, all other allegations contained in paragraph 120 are

denied.

                                            9
         Case 1:20-cv-03595-TJK Document 6 Filed 01/21/21 Page 10 of 13




       121.    Defendant denies the allegation of this paragraph.

       122.    Defendant denies the allegation of this paragraph.

       123.    Defendant denies the allegation of this paragraph.

       124.    Defendant denies the allegation of this paragraph.

       125.    Defendant denies the allegation of this paragraph.

       126.    Defendant denies the allegation of this paragraph.

       The Complaint contains “WHEREFORE” clauses to which no response is

required. Defendant denies that Plaintiff is entitled to any relief sought, including actual

damages or liquidated damages including back pay, front pay, and reimbursement for lost

pension, insurance and all other benefits; compensatory damages and liquidated damages;

attorneys’ fees; expert witness fees; pre- or post-judgment interest; “costs of court” and

“costs of prosecuting this claim;” any “Such [sic] other and further relief to which

Plaintiff may be justly entitled;” and/or “no less than four hundred and fifty thousand

dollars ($400,000) [sic] in total damages and costs.”

                               AFFIRMATIVE DEFENSES

       1.      The Complaint fails to state any claim upon which relief can be granted.

       2.      Some or all of Plaintiff’s claims are barred by the doctrines of release,

laches, waiver, and/or estoppel.

       3.      Some or all of Plaintiff’s claims are barred by the doctrines of res judicata

and/or collateral estoppel.

       4.      Some or all of Plaintiff’s claims are barred by the applicable statute of

limitations.
                                              10
         Case 1:20-cv-03595-TJK Document 6 Filed 01/21/21 Page 11 of 13




       5.     Some or all of Plaintiff’s claims are not actionable because Plaintiff is not

entitled to relief under Title VII of the Civil Rights Act of 1964.

       6.     Some or all of Plaintiff’s claims are not actionable because Plaintiff is not

entitled to relief under the Age Discrimination in Employment Act of 1967.

       7.     Some or all of Plaintiff’s claims are not actionable because Plaintiff cannot

establish a prima facie case under Title VII of the Civil Rights Act of 1964.

       8.     Some or all of Plaintiff’s claims are not actionable because Plaintiff cannot

establish a prima facie case under the Age Discrimination in Employment Act of 1967.

       9.     The Defendant’s alleged actions were not a proximate cause of or a

substantial factor in any alleged injury suffered by Plaintiff.

       10.    Plaintiff’s claims are not actionable because the challenged employment

practices were justified by legitimate and non-discriminatory business reasons unrelated

to race, age, sex, color, or any other protected characteristic or activity.

       11.    Plaintiff’s claims are not actionable because the challenged employment

practices were justified by legitimate and non-discriminatory business reasons and

otherwise were not retaliatory for any claimed protected activity.

       12.    Defendant acted in a legal and proper manner as to all personnel actions

taken with regard to Plaintiff’s employment.

       13.    Plaintiff is not entitled, on the law or the facts, to the damages claimed.

       14.    Plaintiff did not suffer any damages attributable to any actions of

Defendant.



                                              11
        Case 1:20-cv-03595-TJK Document 6 Filed 01/21/21 Page 12 of 13




       15.    Plaintiff has failed to mitigate the damages, if any, that she claims against

Defendant.

                             RESERVATION OF RIGHTS

       Defendant reserves the right to assert any and all additional affirmative defenses

that may be determined during discovery.

       WHEREFORE, Defendant having fully responded to the Complaint, respectfully

requests that the Court enter judgment in its favor, award Defendant its costs and

reasonable attorneys’ fees incurred in this lawsuit and afford Defendant such other and

further relief as this Court deems just and proper.

                                           Respectfully submitted,


                                              /s/ Eric Paltell
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                                           Attorneys for Defendant Chronicle of Higher
                                           Education, Inc.




                                             12
          Case 1:20-cv-03595-TJK Document 6 Filed 01/21/21 Page 13 of 13




                               CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of January, 2021, a copy of Defendant’s Answer and

Affirmative Defenses was electronically served on Plaintiff’s counsel through the Court’s ECF

system.



                                               /s/ Eric Paltell
                                            Eric Paltell




                                              13
